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FEHJBV._ ' D
IN THE UNITED STATES DISTRICT COUR'I‘ . “""' 'c'
FoR THE wEsTERN DISTRICT oF TENNESSEE OSAU(; 30 p
WESTERN DIVISION H 52 03
CLE?K'US_ 5»'_§" m-
UNITED STATES oF AMERICA, W;D "~WF%{Q}S:IHT
vs. No. 03-20367-Ma

IDA MORTON WADE ,

Defendant.

 

ORDER GRANTING MOTION 'I‘O CONTINUE R.E-SENTENCING HEARING

 

Before the court is the August 30, 2005, motion by Ida
Morton Wade, to reset the re-sentencing hearing presently set on
August 31, 2005. Counsel for the government does not oppose the
resetting. For good cause shown, the motion is granted. The
hearing on re-sentencing is reset to Wednesday, September 21,
2005, at 2:00 p.m.

It is so ORDERED this EffE`day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This enactment enzered on the docket she t In compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 349 in
case 2:03-CR-20367 Was distributed by faX, mail, or direct printing on
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Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

1\/1emphis7 TN 38103--111

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

1\/lemphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/lemphis7 TN 38103

Bruce I. Griffey

THE HARDISON LAW FIRM- Memphis
119 S. Main St.

Ste. 300

1\/lemphis7 TN 38103

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

1\/lemphis7 TN 38128

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Edward P. Bronston

LAW OFFICE OF EDWARD P. BRONSTON
246 Adams Ave.

1\/lemphis7 TN 38103

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DeWun R. Settle

LAW OFFICE OF DEWUN R. SETTLE
100 N. Main Bldg.

Ste. 3001

1\/lemphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/lemphis7 TN 38103

Stephen Farese

FARESE FARESE FARESE, PA
122 Church Street

P.O. BOX 98

Ashland7 MS 38603

Honorable Samuel Mays
US DISTRICT COURT

